Case 3:22-cv-00410-REP Document 2 Filed 06/02/22 Page 1 of 4 PagelD# 30

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

\ Plaintiff(s)

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Maia Lichadsn, tu bis ottieal cupssity

/ Defendant(s)

Civil Action No. 3/77 -Cu -O0OAY/o

 

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: ,
C\iow Hanorns 624°
AAO. 20 eid
loo EWA Aget Ave “9
Cwdlotemalle, vA 227°/

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 3:22-cv-00410-REP Document 2 Filed 06/02/22 Page 2 of 4 PagelD# 31

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

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) Civil Action No. 5 IZ
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Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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Liclwnmdad / VA 2341 4

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Pi oi Ly Q Rw, NE ts 6;
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Chre| os As ZZ40|

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
Case 3:22-cv-00410-REP Document 2 Filed 06/02/22 Page 3 of 4 PagelD# 32

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

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Shan Comer Flasae- 4
Plaintiff(s)
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/ Defendant(s) — / )

SUMMONS IN A CIVIL ACTION

To: (Defendant's 's name and add wld

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A lawsuit has been filed against

 

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are:
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: >

~ Signature of Clerk c or Deputy ‘Clerk
Case 3:22-cv-00410-REP Document 2 Filed 06/02/22 Page 4 of 4 PagelD# 33

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

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Bens af Ala, cago fas}

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” Defendant(s)

Civil Action No.3: Zz Cv - 66 (lo

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SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)

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WAS throton, O.C. Lotl

A lawsuit has been filed against you.
Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: a4
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If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

 

Signature of Clerk or Deputy Clerk
